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                    Exhibit M
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                                LACKLAND AFB HOUSING LEASE AGREEMENT
                                       (Active Duty Military Resident)
COMMUNITY: LACKLAND                     FAMILY HOMES
UNIT NUMBER 2138                          UNIT ADDRESS BLAKE RD                                                                    UNIT TYPE
CITY SAN       ANTONIO                     COUNTY      BEXAR                           STATE     TX                                ZIP78236
1. CURRENT DATE                            2. LEASE COMMENCEMENT DATE                                                  3. LEASE END DATE
(MM/DD/YYYY) 11/17/2019                    (MM/DD/YYYY) 11/18/2019                                                     (MM/DD/YYYY) 11/30/2020

4. RESIDENT(S) - INDMDUAL(Sl RESPONSIBLE FOR LEASE
a. NAME (Last, First, Middle Initial)   b. SSN          c. Pay Grade       d. Branch   e. Duty Station/UIC         f. Home Phone
NORTHUP, GILBERT                                         E-5               USAF        JBSA
~                                       1.1.1 '7

a. NAME (Last, First, Middle Initial)   b. SSN          c. Pay Grade       D .Branch   e. Duty Station/UIC         f. Home Phone




a. NAME (Last, First, Middle Initial)   b. SSN          c. Pay Grade       D .Branch   e. Duty Station/UIC         f. Home Phone



5. MONTHLY RENT                                                                 6. PARTIAL RENT PAYMENT
$                                                                               $
7     SECURITY DEPOSIT AMOUNT
s
8. LATECHARGE
   $
9. RETURNED PAYMENT CHARGE
    $

10. UTILITlES PAID BY LANDWRD OR RESIDENT: As described in Section 19.

11. RENT PAYABLE TO LANDLORD AT THE MANAGEMENT OFFICE LOCATED AT:
2254 BRIAN MCELROY, LACKLAND AFB, TX 78236
BAH ALLOTMENT

12. LIST OF ALL OCCUPANTS (Do not list anv from Number 4 above )
la. NAME (Last, First, Middle Initial)                                                                       b. AGE                   c. RELATIONSHIP
      NORTHUP, ZAKIYAH H.                                                                                         32                       SPOUSE

2a. P        ,L                                                                                              b.13                     c.CHILD
3a.                                                                                                          b.                       C.

4a.                                                                                                          b.                       C.

5a.                                                                                                          b.                       C.

6a.                                                                                                          b.                       C.


13. EMERGENCY CONTACT
a.NAME
 ZAKIYAH NORTHUP
                                                   I
                                                   b. RELATIONSHIP
                                                   SPOUSE
                                                                                                             c .TELEPHONE

14. SPECIAL PROVISIONS AND ADDITIONAL AGREEMENTS:




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       This LEASE AGREEMENT (this "Lease"), is made on the "Current Date" set forth in
Box 1, Page 1, between Lackland Family Housing, LLC, a Delaware limited liability company
("Landlord"), and the individual(s) set forth in Box 4, Page 1 (collectively, "Resident").


1.      TERM OF OCCUPANCY: Landlord grants occupancy to the Resident and only those
persons authorized in this Lease in Section 8 below, for an initial term of one (1) year, at the
premises located on Lackland Air Force Base, Texas (the "Installation"), set forth on Page 1 of
this Lease (the "Premises"), for use as a dwelling only, together with the property noted on the
Property Condition Report received at move in. Occupancy of the Premises by Resident shall
begin on the date set forth in Box 2, Page 1 and end on the date set forth in Box 3, Page 1 (the
"Initial Term"). After expiration of the Initial Term, this Lease will automatically continue on a
month-to-month tenancy until terminated by either party upon giving thirty (30) days written
notice.
2.     RENT:
       (a)     FULL BAB/FIXED MARKET RENT
□ For Residents paying Full BAB: Subject to Section 19 (and subsection (b) below, if
applicable), the rent and Landlord-provided utilities ("Rent") shall be no greater than the Basic
Allowance for Housing at the With Dependents rate (the "BAB") for Resident's duty station and
military grade, if Resident's duty station is within a sixty (60) minute commute of the Premises,
or no greater than at the With Dependents rate that would be charged for Resident's military
grade at the Premises if Resident's duty station is not within a sixty (60) minute commute of the
Premises. Rent shall be payable in monthly installments. The monthly Rent installment will
begin in the amount specified in Boxes 5 and 10, Page 1, due in accordance with the payment
option (Allotment, Third Party Vendor Managed Allotment, UDEFT, or Direct Payment) as
selected below. If Residents are dual Military (service member married to service member), the
Rent for the Premises will be, subject to Section 19 (and subsection (b) below, if applicable), no
greater than the BAH of the senior service member Resident at the With Dependent's rate. If
Resident's BAH rate changes at any time for any reason, Resident shall notify Landlord within
ten (10) business days of the change. Resident shall be responsible for the payment of Rent at
the changed rate from the effective day of any change in Resident's BAH rate and payable when
received by Resident. Resident agrees that the foregoing constitutes effective notice from
Landlord of the change in the amount of the monthly Rent which will take effect upon any
change in Resident's applicable BAH. In the event Resident becomes ineligible for BAH, the
Rent will be, subject to Section 19 (and subsection (b) below, if applicable), equal to Resident's
BAH immediately prior to Resident's ineligibility. f this Lease begins after the first (1 st) day of
the month, Resident shall pay the prorated amount based upon I/30th of the monthly Rent.
Resident shall pay the Partial Month Rent shown in Box 6, Page 1, on the first (1 st) day of the
following month. If Resident vacates the Premises on a day other than the last day of a monthly
rental period, the daily rental rate due for any resulting partial rental period shall be calculated by
dividing the monthly rental rate by thirty (30). Landlord shall refund any monies due to Resident
within ten (10) business days of Landlord's receipt of the BAH allotment applicable to the month
of termination.

                       i.       Allotment Option: Resident chooses to pay Rent in arrears on the
                       first (l8~ day of the following month through an allotment from the senior
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                 service member Resident's pay account to Landlord ("Allotment"). The
                 Allotment will be changed when changes occur to the senior service
                 member Resident's BAH rate. Resident shall execute any additional
                 documents that are necessary to make monthly Rent payments equal to the
                 BAH to Landlord via Allotment at Lease signing and agrees to take no
                 action to terminate such Allotments without making arrangements with
                 Landlord. If Resident's Allotment is terminated while Resident is still in
                 possession of the Premises without written permission from Landlord,
                 Resident will be considered in material breach □rps ~ase, unless such
                 termination is beyond Resident's fault or control. ·         - (Initial here to
                 select this option.)                               l'f'Ot'I'

                 ii.     Third Party Vendor Managed Allotment Option:               Resident
                 authorizes the Allotment to be initiated and changed by the vendor as set
                 forth in Section 2(a)(i) of this Lease. Authorization is also given to stop
                 the Allotment at the time that the Lease is terminated. The Allotment will
                 be changed when changes occur to the senior service member Resident's
                 BAH rate. Resident shall execute all documents that are necessary to such
                 Allotment at signing of this Lease and Resident agrees to take no action to
                 terminate the Allotment without making arrangements acceptable to
                 Landlord. If Resident takes action to terminate the Allotment, without
                 written permission from Landlord, before providing notice to vacate and
                 paying last month's Rent, the Allotment may be restarted automatically if
                 the Resident still occupies the Premises; provided, however, that if the
                 Allotment is unable to be restarted, then Resident will be considered in
                 material breach of this Lease, unless such Allotment termination is beyond
                 Resident's fault or control. _ _ - (Initial here to select this option.)

                 111.      UDEFf Option: Resident chooses to pay Rent in arrears on the
                 first (1 st) day of the following month through Unit Diary Entry Electronic
                 Funds Transfer ("UDEFT") from the senior service member Resident's
                 pay account to Landlord. The UDEFT will be changed by Resident when
                 changes occur to the senior service member Resident's BAH rate. It is
                 Resident's responsibility to make adjustments in the UDEFT to reflect any
                 changes in Resident's BAH rate. Resident shall execute all required
                 documents that are necessary to make monthly Rent payments equal to the
                 BAH to Landlord via UDEFT at Lease signing and agrees to take no
                 action to terminate such UDEFT without making arrangements with
                 Landlord. If Resident's UDEFT is terminated while Resident is still in
                 possession of the Premises without written permission from Landlord,
                 Resident will be considered in material breach of this Lease, unless such
                 termination is beyond Resident's fault or control. __ - (Initial here to
                 select this option.)

                 iv.     Direct Payment Option: Resident chooses not to use the
                 Allotment or UDEFT payment options and agrees to make Rent payments
                 directly to Landlord on the first day of each month, without notice, to
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                      Landlord's office located at the address listed in Box 11, Page 1, or such
                      other person at such address as Landlord may notify Resident. Rent
                      payment owed by Resident pursuant to this Option will be payable by
                      personal check, certified check, cashier check, Electronic Funds Transfer
                      (EFT), or money order at the address specified. Resident acknowledges
                      that by selecting this option, a security deposit will be required pursuant to
                      Section 3 below. _ _ - (Initial here to select this option.)

Landlord has the right to require that all payments, including any fees or charges permitted to be
assessed by Landlord in accordance with this Lease, that are not paid by Allotment, Third Party
Vendor Managed Allotment or UDEFT be made by money order, personal check, cashier's
check or certified check payable directly to Landlord or to a third party billing service engaged
by Landlord.

       (b)     FIXED MARKET RENT
□  For Residents paying a Fixed Rent Amount: The rent and Landlord-provided utilities
("Rent") shall be in an amount shown in Box 5, Page 1, subject to Section 19 (and subsection (b)
below, if applicable). Rent shall be payable in monthly installments, due in accordance with the
payment option (Allotment, Third Party Vendor Managed Allotment, UDEFT, or Direct
Payment) as selected below.

The monthly rental rate may be subject to increase (i) at the end of the initial term, and (ii)
thereafter upon thirty (30) days' written notice by Landlord.

If this Lease begins after the first (1 st) day of the month, Resident shall pay the prorated amount
based upon 1130th of the monthly Rent. Resident shall pay the Partial Month Rent shown in Box
6, Page 1, on the first ( 181} day of the following month. If Resident vacates the Premises on a day
other than the last day of a monthly rental period, the daily rental rate due for any resulting
partial rental period shall be calculated by dividing the monthly rental rate by thirty (30).
Landlord shall refund any monies due to Resident within ten (10) business days of Landlord's
receipt of the BAH allotment applicable to the month of termination.

                       i.         Allotment Option: Resident chooses to pay Rent in arrears on
                       the first day of the following month through an allotment from the senior
                       service member Resident's pay account to Landlord ("Allotment"). The
                       Allotment will be changed when changes occur to the Rent rate. Resident
                       shall execute any additional documents that are necessary to make
                       monthly Rent payments to Landlord via Allotment at Lease signing and
                       agrees to take no action to terminate such Allotments without making
                       arrangements with Landlord. If Resident's Allotment is terminated while
                       Resident is still in possession of the Premises without written permission
                       from Landlord, Resident will be considered in material breach of this
                       Lease, unless such termination is beyond Resident's fault or control.
                       _ _ - (Initial here to select this option.)



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                      ii.        Third Pai-tv Vendor Managed Allotment Option: Resident
                      authorizes the Allotment to be initiated and changed by the vendor as set
                      forth in Section 2(b)(i) of this Lease. Authorization is also given to stop
                      the Allotment at the time that the Lease is terminated. The Allotment will
                      be changed when changes occur to the Rent rate. Resident shall execute all
                      documents that are necessary to such Allotment at signing of this Lease
                      and Resident agrees to take no action to terminate the Allotment without
                      making arrangements acceptable to Landlord. If Resident takes action to
                      terminate the Allotment, without written permission from Landlord, before
                      providing notice to vacate and paying last month's Rent, the Allotment
                      may be restarted automatically if the Resident still occupies the Premises;
                      provided, however, that if the Allotment is unable to be restarted, then
                      Resident will be considered in material breach of this Lease, unless such
                      Allotment termination is beyond Resident's fault or control.
                      (Initial here to select this option.)

                      111.      UDEFT Option: Resident chooses to pay Rent in arrears
                      through Unit Diary Entry Electronic Funds Transfer ("UDEFT") from the
                      senior service member Resident's pay account to Landlord. The UDEFT
                      will be changed by Resident when changes occur to the Rent rate. It is
                      Resident's responsibility to make adjustments in the UDEFT to reflect any
                      changes in the Rent rate. Resident shall execute all required documents
                      that are necessary to make monthly Rent payments to Landlord via
                      UDEFT at Lease signing and agrees to take no action to terminate such
                      UDEFT without making arrangements with Landlord. If Resident's
                      UDEFT is terminated while Resident is still in possession of the Premises
                      without written permission from Landlord, Resident will be considered in
                      material breach of this Lease, unless such termination is beyond
                      Resident's fault or control. __ - (Initial here to select this option.)

                      iv.       Direct Payment Option: Resident agrees to make Rent
                      payments in advance directly to Landlord on the first day of each month,
                      without notice, to Landlord's office located at the address listed in Box 11,
                      Page 1, or such other person at such address as Landlord may notify
                      Resident. Rent payment owed by Resident pursuant to this Option will be
                      payable by personal check, certified check, cashier check, Electronic
                      Funds Transfer (EFT), or money order at the address specified. Resident
                      acknowledges that by selecting this option, a security deposit will be
                      required pursuant to Section 3 below. __ - (Initial here to select this
                      option.)

Landlord has the right to require that all payments, including any fees or charges permitted to be
assessed by Landlord in accordance with this Lease, that are not paid by Allotment, Third Party
Vendor Managed Allotment or UDEFT be made by money order, personal check, cashier's
check or certified check payable directly to Landlord or to a third party billing service engaged
by Landlord.


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3.     SECURITY DEPOSIT AND PET FEES: A security deposit in the amount set forth in
Box 7, Page 1 will be required. Landlord agrees to hold the security deposit, if any, in
accordance with applicable law, including any required payment of interest. Upon the end of the
lease term, Landlord will determine what portion, if any, of the security deposit is to be returned
by Landlord after deductions for damages and unpaid Rent and shall refund all or the remaining
portion of the security deposit (as the case may be) to Resident within thirty (30) calendar days
of the end of the term. In the event Landlord retains any or all of the security deposit, Landlord
will additionally provide Resident with a written statement itemizing the reasons for the retention
of any or all of the security deposit. The refund (if any) and statement will be mailed to the last
known address of Resident. Information regarding pet fees is available in the Pet Addendum
attached as Exhibit "C" and made a part hereto.
4.    LATE PAYMENT AND RETURNED PAYMENTS: Payments for Rent not received
by Landlord on or before the due date are late and constitute a default under this Lease.
       (a)     If any installment of Rent is not received by Landlord within five (5) days from
               the due date, Resident agrees, to the extent permitted by applicable law, to pay an
               administrative fee as set forth in Box 8, Page 1, except that Resident will not be
               required to pay the administrative fee if delayed receipt of the allotment is due to
               no fault of the Resident.
       (b)     Resident also agrees, to the extent permitted by applicable law, to pay Landlord
               an additional charge for any returned item as set forth in Box 9, Page 1.
       (c)     Landlord has the right to require that all payments, including any fees or charges
               permitted to be assessed by Landlord in accordance with this Lease, that are not
               paid by Allotment, Third Party Vendor Managed Allotment or UDEFT be made
               by money order, personal check, cashier's check or certified check payable
               directly to Landlord or to a third party billing service engaged by Landlord.

5.     EARLY TERMINATION OF LEASE BY RESIDENT:
       (a)     It is mutually agreed that if Resident or Resident's spouse is an active member of
               the Armed Forces of the United States or a member of the National Guard serving
               on full-time duty or as an active duty Civil Service technician with a National
               Guard unit, this Lease may be terminated by the Resident without payment of any
               penalty or liquidated damages if the member:
               (i)     Retires; or
               (ii)    Is released from active duty; or
               (iii)   Is transferred (PCS) beyond a twenty-five (25) mile radius of the
                       Installation; or
               (iv)    Has received orders to occupy public quarters; or
               (v)     Is deployed for more than ninety (90) days (the Resident or the Resident's
                       spouse may exercise early termination of this Lease or the Lease may
                       remain in full force and effect until the end of the Lease term).
       (b)     If Resident seeks early termination of this Lease for (i), (ii), (iii), (iv) or (v) above,
               Resident shall deliver to the Landlord a written notice stating the grounds for

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               early termination with documentation that supports the grounds for early
               termination. Such notice shall also state an effective date for the termination,
               which date shall not be less than thirty (30) days after the date of Landlord's
               receipt of the notice, except for short notice assignments or for any reason
               whereby notification cannot be made due to no fault of Resident. The date for
               termination shall not be more than sixty (60) days prior to the date of departure
               necessary to comply with the official orders or supplemental instructions for
               interim training or duty prior to the transfer. The final month's Rent owed by the
               Resident shall be prorated based on the date of termination and such prorated
               Rent shall be payable the first (1 ~ day of the month immediately following
               termination.
       (c)     This Lease will also terminate at the option of the surviving spouse or personal
               representative, on the death of the Resident or if Resident is declared missing-in-
               action. Or the Lease may remain in full force and effect at the same rental rate for
               a maximum period of twelve (12) months from the month of Resident's death or
               missing-in-action declaration. Landlord will be provided with written notice of a
               Lease termination not less than thirty (30) days before such Lease termination
               date.
If two Resident(s) are military members and only one Resident terminates this Lease under
Section 5 above, the remaining Resident will not be required to terminate the Lease, but has the
option to do so by providing Landlord a written thirty (30) day notice of intent to vacate. In the
event such remaining military Resident continues to occupy the Premises under this Lease, the
monthly rental rate for the remainder of the then current term shall continue to be the monthly
Rent payable immediately prior to termination.

If only one Resident is a military member and if that Resident terminates this Lease under
Section 5 above, this Lease shall automatically terminate unless Landlord agrees in writing
otherwise. In the event such non-military Resident continues to occupy the Premises under this
Lease with Landlord's permission, the monthly rental rate for the remainder of the then current
term shall continue to be the monthly Rent payable immediately prior to termination by the
military Resident.
6.      EARLY TERMINATION OF LEASE FOR CHANGES IN STATUS: Resident is
required to provide notice to Landlord as soon as reasonably possible of any change in marital or
dependent status. If Resident's status changes, such that Resident is no longer eligible as an
active duty military member ("Target Tenant"), to the extent permitted by applicable law, this
Lease shall terminate thirty (30) days after the change in status, unless Landlord shall approve a
different termination date and Resident shall continue to pay Rent at the BAH "with dependents"
rate.
7.     EARLY TERMINATION OF LEASE FOR OTHER CAUSES: For any early Lease
termination not described in Section 5 or 6 of this Lease, to the extent permitted by applicable
law, Resident shall pay an amount equal to thirty (30) days' Rent to the Landlord as liquidated
damages for the early termination of this Lease. Such liquidated damages shall be paid in
addition to any prorated monthly Rent or other money owed by the Resident as the result of
damage beyond normal wear and tear to the Premises. Notwithstanding anything else in this

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Section 7, if Resident has occupied the Premises for more than one (1) year, there shall be no
liquidated damages for early termination.
8.     NUMBER OF OCCUPANTS: Resident agrees that the Premises shall be occupied only
by Resident and Resident's immediate family, as set forth in Box 12 on Page 1, or such
additional occupants that have been approved to reside in the Premises by the Installation
Commander and Landlord.
9.      SINGLE FAMILY DWELLING: Resident acknowledges that the Premises is a single-
family dwelling and will be used for occupancy by one family only. Occupancy by more than
one family is prohibited. Immediate relatives of Resident and Resident's spouse may be
considered normal residents of the household and are not "Social Visitors", regardless of the
period of stay. Social visits by military members assigned to the Installation and civilians
employed at the Installation but who permanently reside outside of the commuting area are
limited to thirty (30) days. Resident agrees that the duration of social visits by anyone residing
within the sixty (60) minute commuting area of the Installation is limited to no more than two (2)
days.
10.     INSPECTION AT COMMENCEMENT OF OCCUPANCY: Resident and Landlord
acknowledge that, prior to signing this Lease, they conducted a joint examination of the Premises
in accordance with the written policy set forth in the Resident Guide. Resident hereby
acknowledges that, except as specifically set forth in the attached Property Condition Report, the
Premises were rented to Resident in good order and repair and that the Premises were rented to
the Resident in safe, clean and habitable condition. The parties agree that all Landlord-promised
repairs, alterations, and maintenance are written in the Property Condition Report. Landlord
acknowledges the responsibility to provide Resident with Premises that are in a habitable
condition. Notwithstanding any other provision of this Lease, any latent defects that are found in
violation of any applicable law shall be cause for termination of this Lease by the Resident
unless cured by Landlord within fifteen (15) days of Resident's notice to Landlord. Resident
further acknowledges responsibility for maintaining the Premises in a clean condition. Damage
to the Premises beyond normal wear and tear that is not described on the Property Condition
Report as existing prior to Resident's occupancy is subject to repair by Landlord and Resident
shall pay the actual cost of such repairs.
11.    ACCEPTANCE OF THE PREMISES:
       (a)     EXCEPT AS EXPRESSLY PROVIDED IN THIS LEASE, RESIDENT
               ACCEPTS THE PREMISES IN ITS PRESENT CONDITION, AS IS, WHERE
               IS AND WITH ALL FAULTS.
       (b)     Resident accepts existing locks as safe and acceptable. If Resident requests that
               Landlord install, change or re key a security device, Resident shall provide written
               notice thereof to Landlord. Resident shall pay for the total cost of Landlord's
               compliance with Resident's request to install, change or re-key a security device,
               except as provided to the contrary and subject to the limitations specified by
               applicable law. Upon written request from Resident to Landlord, Landlord shall
               repair or replace a security device installed by Landlord that is inoperable or in
               need of repair or replacement. Landlord shall have a reasonable time, which shall
               not exceed three (3) days, in which to comply with a written request from
               Resident for rekeying, changing, installing, repairing or replacing a security
               device. Resident shall not remove or add any security devices at the Premises
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              without the prior written consent of Landlord, and each of such security devices
              shall be deemed to be fixtures permanently attached to the Premises. For each
              Landlord-approved device installed by Resident, a key or other access device
              shall be provided to Landlord within twenty-four (24) hours of its installation.
12.    SMOKE AND CARBON MONOXIDE DETECTORS :
       (a)    Landlord shall have no duty to furnish smoke detectors except as required by
              applicable law. When smoke detectors are furnished, Landlord shall test same
              and provide initial batteries at the commencement of this Lease. Thereafter,
              Resident shall pay for and replace smoke detector batteries, if any, as needed.
              During the term of this Lease, including any renewal and extension, Landlord will
              inspect and repair a smoke detector if Resident first gives Landlord written notice
              that the smoke detector needs to be inspected or repaired. If the smoke detector is
              damaged or malfunctioning as the result of damage caused by Resident, any
              Occupant or Resident's guests or invitees, Landlord shall repair or replace the
              damaged or malfunctioning smoke detector and Resident will pay the actual cost
              of repairs or replacement. Landlord shall have a reasonable time (not to exceed
              two (2) business days) in which to comply with Resident's request for inspection
              or repair of a smoke detector.
       (b)    Landlord shall have no duty to furnish carbon monoxide detectors except as
              required by applicable law. When carbon monoxide detectors are furnished,
              Landlord shall test same and provide initial batteries at the commencement of this
              Lease. Thereafter, Resident shall pay for and replace carbon monoxide detector
              batteries, if any, as needed. During the term of this Lease, including any renewal
              and extension, the Landlord will inspect and repair a carbon monoxide detector if
              Resident first gives the Landlord written notice that it needs to be inspected or
              repaired. If the carbon monoxide detector is damaged or malfunctioning as the
              result of damage caused by Resident, any Occupant or Resident's guests or
              invitees, Landlord shall repair or replace the damaged or malfunctioning carbon
              monoxide detector and Resident will pay the actual cost of repairs or replacement.
              Landlord shall have a reasonable time (not to exceed two (2) business days) in
              which to comply with Resident's request for inspection or repair of a carbon
              monoxide detector.
13.     ASSIGNMENT AND SUBLETTING: Resident shall neither assign this Lease nor
sublet the· Premises nor grant any concession or license to use the Premises or any part thereof.
Any assignment, concession or license shall constitute a breach of this Lease by Resident and
may subject Resident to eviction and/or claims by Landlord for damages.
14.     NUISANCE: Resident will use the Premises in a manner that does not disturb other
Residents or creates a public nuisance. Such may be cause for termination in accordance with
this Lease and in accordance with applicable law.
15.    PROHIBITED ACTIVITIES, ILLEGAL SUBSTANCES, AND MATERIALS:
       (a)     Resident or any occupant shall not possess, store, or otherwise permit anyone to
               possess or sell illegal substances on the Premises, including but not limited to
               illegal weapons, explosives, or chemicals with which illegal drugs may be
               produced. Possession of said contraband or illegal items will constitute a breach
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              of this Lease by Resident and will, at the option of Landlord, result in immediate
              termination of this Lease if such breach constitutes a criminal or willful act which
              is not remediable, and which poses a threat to the health or safety of Resident, the
              other occupants of the Premises, or other residents of the community.
       (b)     Resident or any occupant shall not knowingly permit illegal or unlicensed
               gambling on the Premises; install or operate, or permit to be installed or operated,
               any device which is illegal; use or knowingly permit the Premises to be used for
               any illegal business or purpose; knowingly allow activities that would constitute a
               nuisance; or sell, or commercially store or dispense, or permit the sale, or
               commercial storage or dispensing of beer or other intoxicating liquors on the
               Premises without the permission of the Installation Commander or designee.
       (c)     Resident or any occupant shall not keep or have on the Premises any article,
               liquids, chemicals or thing of a dangerous, inflammable, explosive, or hazardous
               nature that might unreasonably increase the danger of fire, explosion, or cause
               physical illness on the Premises, or that might be considered hazardous or extra
               hazardous by governmental officials or under the provisions of an insurance
               policy.
       (d)     Landlord shall have no obligation to search or make any inspection to discover
               dangerous articles, liquids, chemicals or things such as are described in subsection
               (c), above. Should Resident or any occupant maintain such hazardous materials
               on the Premises that cause injury or damage to any persons or property, Resident
               shall bear all legal and financial responsibility for said injury and/or damage
               which results therefrom. Failure of Resident to remove said materials upon
               written request of the Landlord shall entitle Landlord to immediately terminate
               this Lease.
16.     RESIDENTIAL BUSINESS: Resident may, with written permission of Landlord,
which permission shall not be unreasonably withheld, conduct a business on the Premises of a
type permitted by government regulations governing the conduct of business activities in military
family housing. Residents conducting a residential business (e.g., child care) will be required to
comply with and are subject to inspection and compliance with government standards.
Landlord's granting of permission is not a warranty that the Premises are suitable for the conduct
of Resident's business. No door-to-door soliciting will be allowed and no advertising signs shall
be posted on the Premises and no interior or exterior structural modifications or additions shall
be made to accommodate Resident's business. Resident is responsible for obtaining the
necessary permissions and/or licenses and will indemnify, save and hold harmless Landlord for
any failures to obtain the necessary permissions and/or licenses and for any damage to third
parties arising from the conduct of Resident's business.
17.    ANIMALS/PETS: A maximum of two (2) pets are allowed to live or be harbored on the
Premises, in accordance with the restrictions set forth in the Pet Addendum and Resident Guide.
18.    CABLE, SATELLITE AND OTHER TELEVISION FACILITIES: Resident shall be
permitted to keep a cable, satellite dish or other television equipment as set forth in the
Cable/Satellite Dish Addendum (Attachment "D").



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19.    UTILITIES: Utility charges are to be paid as follows:
       ITEM               TOBE PAID BY              ITEM                         TOBE PAID
                                                                                 BY
       HEAT               LANDLORD                CABLE TV                       RESIDENT
       SEWER              LANDLORD                SATELLITE TV                   RESIDENT
       ELECTRICITY        LANDLORD                TELEPHONE                      RESIDENT
       FUEL OIL           LANDLORD                HIGH SPEED INTERNET            RESIDENT
       WATER              LANDLORD                OTHER
       GARBAGE            LANDLORD                OTHER
       GAS                LANDLORD                OTHER

Responsibilities for utility costs are as follows: Landlord shall pay for water, sewer, electricity,
gas, oil (if applicable) and garbage. Resident shall pay for cable or satellite television, telephone,
high speed internet, and any Charge (as defined below) as described below for their individual
Premises. Except as otherwise set forth in this Section, there shall be no change in Resident's or
Landlord's respective responsibilities for payment of said utilities pursuant to this Lease without
Landlord providing Resident at least sixty (60) days prior written notice. Landlord shall have the
right to charge reasonable administration fees to Resident in connection with the processing of
billing notices for Landlord-provided utilities, including a Utility Notice (as defined below).
Notwithstanding anything to the contrary in this Lease, upon the failure of Resident to pay any
amounts due under this Section, Landlord shall have the same rights and remedies under this
Section as Landlord has as a result of Resident's failure to pay any other Rent amounts due under
this Lease. These rights and remedies include, without limitation, the imposition of any
applicable late charges, and costs applicable to termination rights and rights upon default of
Resident.
CHECK AND INITIAL APPROPRIATE SECTION BELOW:
The Office of the Secretary of Defense has mandated implementation of a utility billing program
that compares actual energy consumption by the Resident with a baseline average energy
consumption at similar homes. Under the program, each Resident is encouraged to increase
overall energy awareness and to conserve energy through good stewardship. Residents are
credited for energy consumption below such baseline ("Conservation Credit") or are charged
for energy consumption above such baseline ("Charge").


[for units already separately metered and in live billing]
D A portion of the Rent shall be allocable to the electric and/or gas utility service for the
Premises (the "Utility Baseline"), based upon a baseline set by Landlord using such data as the
age and size of the Premises, type of construction, type of appliances, and other factors. On a
monthly basis, Landlord will compare the actual, metered cost of electric and/or gas utility
service for the Premises (the "Actual Utility Cost") to the Utility Baseline and provide Resident
with notice of such costs (the "Utility Notice"). If the Actual Utility Cost exceeds the Utility
Baseline, Resident shall pay Landlord the amount of such excess within fifteen (15) days after
receipt of the Utility Notice. If the Actual Utility Cost is less than the Utility Baseline, the
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Resident's utility account shall be credited by such difference or, if the accumulated credit is
over $     , refunded to Resident. ___ RESIDENT INITIALS


[for units not yet separately metered and in live billing but expected to be in future]
D Upon the date when the electric and/or gas utility service have been separately metered for the
Premises and live billing commences, a portion of the Rent shall be allocable to the electric
and/or gas utility service for the Premises (the "Utility Baseline"), based upon a baseline set by
Landlord using such data as the age and size of the Premises, type of construction, type of
appliances, and other factors. On a monthly basis, Landlord will compare the actual, metered
cost of electric and/or gas utility service for the Premises (the "Actual Utility Cost") to the
Utility Baseline and provide Resident with notice of such costs (the "Utility Notice"). If the
Actual Utility Cost exceeds the Utility Baseline, Resident shall pay Landlord the amount of such
excess within fifteen (15) days after receipt of the Utility Notice. If the Actual Utility Cost is
Jess than the Utility Baseline, the Resident's utility account shall be creditWa such difference
or, if the accumulated credit is over $          , refunded to Resident.              RESIDENT
INITIALS                                                                       {JO/\)

20.     REPAIRS: Resident shall make no repairs to the Premises or fixtures located within the
Premises without the written approval of Landlord or in accordance with applicable law.
Resident shall immediately notify Landlord of any damage to the Premises. Landlord shall make
a diligent effort to repair or remedy the condition in accordance with applicable law and the
Service Request call response times in the Resident Guide. The response time will begin upon
Landlord's receipt of Resident's written notice requesting such repairs. In the event the need for
the repair is due to damage beyond normal wear and tear caused by Resident, occupants, guests,
or pets, Resident will be held responsible for the actual cost of the repairs.
21.     ALTERATIONS AND FIXTURES: Resident shall make no alterations to the
Premises, incur any debt against Landlord or create any lien upon the Premises for any work
done or material furnished without the express written consent of Landlord. Any fixtures
installed by Resident shall be at Resident's expense, shall be affixed in a manner that will not
damage the Premises, and shall be removed by Resident, without damage to the Premises, at the
expiration or termination of this Lease. In the event such fixture or other personal property of
Resident is not removed at the expiration or termination of this Lease, Landlord may treat the
same as abandoned and charge Resident the actual cost paid for removal of the property and
repair of the Premises, in accordance with applicable law.
22.     ACCESS DURING OCCUPANCY: Resident will allow Landlord or an agent of
Landlord to enter the Premises for purposes of access, upon twenty-four (24) hours' notice,
between the hours of 8:00 a.m. and 5:00 p.m., Monday through Saturdays. In the event Resident
is absent, Landlord will endeavor to delay the access until the return of Resident but need not do
so beyond fourteen (14) days from Landlord's initial notice to Resident. The purpose of the
access is to ensure the Premises are maintained, not in need of repair and that their use is in
conformity with the provisions of this Lease. Landlord shall have access to the Premises at other
times, with prior notice to Resident, for the purpose of making requested repairs, as provided in
the Resident Guide. Landlord shall have immediate access, without notice to Resident, to the
Premises in case of an emergency situation, as provided in the Resident Guide. Landlord or its
agent will leave a notification advising Resident that the Premises has been entered, when
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Resident is not present. The Premises must be inspected by Landlord a minimum of two (2)
times per year to ensure that the fire and safety systems are operating properly.
23.   DESTRUCTION OF PREMISES:
      (a)    If the Premises, or any part thereof, without any fault or neglect of Resident,
             occupants, guests or invitees, shall be destroyed or so injured by the elements or
             other cause as to be unfit for occupancy, Resident may thereupon surrender
             possession of the Premises to Landlord, and thereupon this Lease shall cease and
             be void. Upon surrendering possession of the Premises to Landlord, Resident
             shall have provided the Landlord of Resident's intent to terminate the Lease. The
             Lease terminates as of the date of surrendering the Premises. Resident may
             request that Landlord make the Premises fit for occupancy within seven (7) days
             of surrender and Rent will begin to accrue when Resident re-occupies the
             Premises, provided such Premises are made fit for occupancy within seven (7)
             days.
      (b)    There shall be no abatement or cessation of Rent if damage to the Premises is the
             result of the negligence or willful act of Resident, any occupant or Resident's
             guests or invitees.
24.   LIABILITY, INDEMNITY AND INSURANCE:
      (a)    Landlord shall not be liable to Resident, Resident's family members, guests, or
             invitees for any damages, injuries or losses to person or property caused by crime,
             vandalism, fire, smoke, pollution (including second hand smoke), water,
             lightning, rain, flood, water leaks, hail, ice, snow, explosion, interruption of
             utilities, electrical shock, defect in any contents of the dwellings, latent defect,
             acts of nature, other unexplained phenomena, acts of other residents, or any other
             cause not the result of the negligence of the Landlord or its representatives,
             acting in the course and scope of employment. Resident expressly acknowledges
             that Landlord has made no representations, agreements, promises, or warranties
             regarding security of the Premise or surrounding community. Landlord does not
             guarantee, warrant or assure Resident's personal security. IN THE EVENT OF
             CRIMINAL ACTIVITY, RESIDENT SHOULD CONTACT THE SECURITY
             FORCES IMMEDIATELY.
      (b)    DISCLAIMER OF LIABILITIES: LANDLORD SHALL NOT BE LIABLE
             TO RESIDENT'S INVITEES, GUESTS, FAMILY, EMPLOYEES, AGENTS,
             SERVANTS, OR OTHER OCCUPANTS OF THE PREMISES FOR ANY
             PERSONAL INJURIES OR DAMAGE TO PROPERTY CAUSED BY
             DEFECTS, DISREPAIR, OR FAULTY CONSTRUCTION OR THE
             PREMISES, OR LOSS FROM THEFT, VANDALISM, FIRE, WATER,
             HURRICANE, RAIN, EXPLOSION, OR OTHER CAUSES WHATSOEVER,
             INCLUDING, WITHOUT LIMITATION, LANDLORD'S NEGLIGENCE,
             UNLESS THE SAME IS CAUSED SOLELY BY THE GROSS NEGLIGENCE
             OR WILLFUL ACT OR WILLFUL OMISSION OF LANDLORD.
       (c)   RESIDENT'S INDEMNITY:     TO THE EXTENT PERMITTED BY
             APPLICABLE LAW, RESIDENT SHALL BE FINANCIALLY RESPONSIBLE
             FOR REIMBURSING LANDLORD IF LANDLORD INCURS ANY LOSS OR
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              DAMAGE AS A RESULT OF OR RELATING TO ANY DEFAULT BY
              RESIDENT. WITHOUT LIMITING THE FOREGOING, RESIDENT SHALL
              INDEMNIFY AND HOLD LANDLORD HARMLESS FROM AND AGAINST
              ANY AND ALL CLAIMS FOR DAMAGES TO THE PREMISES OR OTHER
              PROPERTY OR PERSONAL INJURY ARISING FROM (i) RESIDENT'S
              NEGLIGENT USE OR OCCUPANCY OF THE PREMISES, (ii) FROM ANY
              ACTIVITY, WORK, OR THING DONE, PERMITTED OR SUFFERED BY
              RESIDENT IN OR ABOUT THE PREMISES OR (iii) FROM ANY ACTIVITY,
              WORK, OR THING DONE OR PERMITTED BY THE LANDLORD IN OR
              ABOUT THE PREMISES, INCLUDING, WITHOUT LIMITATION,
              LANDLORD'S NEGLIGENCE, UNLESS THE SAME IS CAUSED SOLELY
              BY THE GROSS NEGLIGENCE OR WILLFUL ACT OR WILLFUL
              OMISSION OF LANDLORD.
       (d)    RENTER'S INSURANCE:
              (i)    Resident agrees to obtain and maintain at all times during the term of this
                     Lease, at Resident's expense, (i) property insurance to cover losses or
                     damage to personal property and (ii) liability insurance with a minimum
                     coverage of $          to protect Resident from claims for property damage
                     and physical injury caused by or to Resident, or Resident's family
                     member( s), invitees or guests. Upon execution of this Lease and thereafter
                     upon request of Landlord, Resident will provide Landlord with evidence
                     of the required insurance coverages, which shall name Landlord as an
                     interested party.
              (ii)   Resident acknowledges that: (i) Landlord is not responsible for Resident's
                     losses resulting from flood, earthquakes, natural disasters, power failures,
                     or fire or any other cause where Landlord was neither negligent nor the
                     proximate cause of Resident's loss, (ii) Landlord's insurance does not
                     cover the loss of or damage to Resident's personal property, and (iii)
                     Resident's failure to maintain the insurance required above may result in
                     Resident being liable to Landlord and others for loss or damage caused by
                     Resident's actions or those of any family member(s), invitees or guests of
                     Resident.
25.    EXIT INSPECTION OF PREMISES: All exit inspections shall be conducted in
accordance with the Resident Guide. Using the Property Condition Report that was received by
Resident to record the condition of the Premises at the move-in inspection, Landlord shall
itemize any damages to or deficiencies in the condition of the Premises that exceed normal wear
and tear. Landlord shall sign and provide Resident with a copy of the move-out Property
Condition Report. Any damage charges estimated to be in excess of $          will be documented
by Landlord with photographs.
       (a)    Resident-Initiated Move-Out: It shall be the responsibility of Resident to request
              an exit inspection of the Premises with Landlord. At the time Resident provides
              written notice to vacate, Landlord will provide to Resident detailed standards for
              cleaning the Premises. An appointment for an exit inspection may be scheduled
              no less than ten (10) working days before Resident vacates the Premises pursuant
              to this Lease.
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       (b)     Eviction: Landlord shall schedule and conduct an exit inspection as soon as
               reasonably possible after eviction, in accordance with the Resident Guide and
               with the cooperation of Resident's superior officers and the Installation
               Commander or designee.
26.     TERMINATION BECAUSE OF DEFAULT: Except as otherwise provided herein, if
either Landlord or Resident materially fails to comply with any of the terms of this Lease, and if
such default continues for thirty (30) days after a notice to cure the default has been delivered to
the offending party, (except that only a five (5) day notice shall be required if the default consists
of Resident's failure to pay Rent when due), then thirty (30) days after notice is delivered (or five
(5) days in the case of a failure to pay Rent when due), the injured party shall have the option of
declaring this Lease terminated and Resident may immediately vacate the Premises, and
Landlord shall be entitled to immediate possession of the Premises, without the injured party
forfeiting whatever other rights the injured party may have for breach of this Lease.
27.    EVICTION:
       (a)     Landlord may terminate this Lease and evict Resident in accordance with
               applicable law for Resident's failure to pay Rent, or for one or more violations of
               this Lease, or:
               (i)     any other actions that affect or threaten to affect the health or safety of
                       other residents in the community; or
               (ii)    any other actions that substantially interfere with the right to quiet
                       enjoyment of other residents of the community; or
               (iii)   upon notice that Resident or a member of Resident's family is or has been
                       barred from entry onto the military installation by the Installation
                       Commander.
       (b)     If Resident willfully remains in possession of the Premises without Landlord's
               consent after expiration or termination of this Lease, Resident is deemed to be in
               breach of this Lease and Landlord may commence an eviction action. An eviction
               action may be filed at the later of (i) the first day following the termination of this
               Lease, or (ii) the first day permitted under applicable law. On retaining
               possession without consent of Landlord, Resident shall be obligated to pay the
               Landlord's attorneys' fees, court costs, and any ancillary damages due to th~
               holdover by Resident.
28.     ABANDONMENT: If Resident has been absent from the Premises for more than seven
(7) consecutive days without notification to Landlord, the Premises may be deemed abandoned.
If Landlord deems that Resident has abandoned the Premises, Landlord will notify the
Installation Commander or designee and request a determination of status of Resident and take
such further action with regard to the Premises and any remaining personal property of Resident
as is necessary, all in accordance with applicable law.
29.    RIGHT TO RELOCATE:
       (a)     Landlord reserves the right to relocate Resident due to construction and
               renovation activities. Landlord will give Resident no less than thirty (30) days'
               advance written notice. Relocations directed by Landlord will be at no cost to
               Resident.
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       (b)     Landlord reserves the right to relocate Resident due to poor habitability
               conditions. Landlord will give Resident no less than thirty (30) days' advance
               written notice. Relocations may be directed by Landlord for poor habitability
               conditions caused by Resident, occupants or Resident's guests. In such event,
               Resident will pay for relocation expenses in addition to the actual cost to repair
               any habitability deficiencies.
30.     DEBARMENT: If Resident or a Resident's family member is debarred from the
Installation by the Installation Commander in accordance with the authority provided in 18
U.S.C. § 1382, and the debarment voids the Target Tenant's status as a Target Tenant, the
Resident shall vacate the Premises not later than thirty (30) days from the date of the debarment.
Provided, however, that Resident must comply with the terms of the debarment which are
unaffected by this Lease. Unless Landlord agrees otherwise with Resident, it shall then be
lawful for the Landlord to enter the Premises, and again have, repossess, and enjoy the same as if
this Lease had not been made, and thereupon this Lease and everything contained therein shall
cease and be void. However, Landlord shall have a right of action for Rent due or breach of
covenant, and the commencement of a proceeding or suit in forcible entry and detainer or in
ejectment. In the case of any such default and entry by Landlord, said Landlord may relet the
Premises for the remainder of this Lease term and recover from Resident any deficiency between
the amount so obtained by re-renting the Premises and the Rent due from Resident through the
end of this Lease term.
31.     RESTRICTIONS ON NONSEVERABLE AND/OR DESIGNATED HISTORICAL
UNITS: Installation Commander shall have the authority to restrict non-severable units and
designated historical units to Target Tenants (active duty military tenants) and other eligible
residents other than members of the general public. In the event of vacancies in such units,
Installation Commander may require that Target Tenants residing in severable units be relocated
to the non-severable or designated historical units. If Installation Commander requires the move,
the Government, and not Resident, shall be required to pay costs of moving.
32.     RESIDENT CONSENT TO RELOCATE: Resident acknowledges that Resident may
be directed by the Installation Commander to move from the Premises to another housing unit
when it is necessary to separate neighborhoods or to attain occupancy in designated historical
homes. Resident hereby agrees that Resident will consent to any such relocation that is directed
by the Installation Commander.
33.    INSTALLATION COMMANDER'S AUTHORITY:
       (a)     Resident acknowledges that (a) the Premises, the Leased Premises (the housing
               area or the "Community") and the Leased Premises Improvements, including the
               housing unit subject to this Lease, are located on the Installation and (b) such
               Premises, Leased Premises, and Leased Premises Improvements, including the
               housing unit subject to this Lease, occupants of the housing unit, invitees, and
               personal property of the occupants and their invitees, are all subject to the
               Installation Commander's rights, privileges and authorities, as described below.

       (b)     Nothing contained in this Lease shall be construed to diminish, limit, or restrict
               any right, prerogative, or authority of the Installation Commander over the
               Premises or the housing area relating to the security or mission of the Installation,
               the health, welfare, safety or security of persons on the Installation or the
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            maintenance of good order and discipline on the Installation, as established in
            law, regulation, or military custom. The foregoing rights, prerogatives and
            authorities of the Installation Commander include, but are not limited to, the
            following:

      (c)   The authority to provide force protection and police protection services in
            accordance with 10 U.S.C. § 2872a, at levels deemed appropriate by the
            Government for the Project.

      (d)   The authority to promulgate and enforce security regulations and restrict public
            access to the Installation, to include regulations delineating parameters for
            authorized entry to or exit from the Installation, pursuant to 50 U.S.C. § 797.

      (e)   The authority to conduct background checks utilizing the most current National
            Crime Information Center data base of the Federal Bureau of Investigation with
            respect to Resident and all occupants pursuant to guidance promulgated by the
            Director, Federal Bureau of Investigation.

      (t)   The authority to bar individuals from the Installation pursuant to 18 U.S.C. §
            1382.

      (g)   The authority to conduct inspections or searches of individuals, the Premises, the
            Leased Premises or the Leased Premises Improvements pursuant to Military Rule
            of Evidence 314, 10 U.S.C. § 802, et seq., and 50 U.S.C. § 797.

      (h)   The authority to issue search authorizations based on probable cause of
            individuals, the Premises, the Leased Premises or the Leased Premises
            Improvements pursuant to Military Rule of Evidence 315, 10 U.S.C. § 802, et seq.
            and 50 U.S.C. § 797.

      (i)   The authority to conduct disaster preparedness exercises and/or emergency
            recovery operations on the Installation in accordance with 50 U.S.C. § 797 and
            Department of Defense Instruction 5200.8.

      (j)   The authority to exercise emergency health powers on the Installation pursuant to
            Department of Defense Directive 6200.3 in the event of a public health
            emergency due to biological warfare, terrorism, or other communicable disease
            epidemic.

      (k)   Any statutes, directives, regulations, or instructions referenced above shall be
            deemed to refer to such authorities as in effect on the Commencement Date, as the
            same may be amended, supplemented or superseded from time to time.

      (1)   Anything contained in this Lease to the contrary notwithstanding, the Installation
            Commander has the right at all times to order the permanent removal and barment
            of anyone from the Installation, including but not limited to Residents, ifhe or she
            believes, in his or her sole discretion, that the continued presence on the
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               Installation of that person represents a threat to the security or mission of the
               Installation, poses a threat to the health, welfare, safety, or security of persons
               occupying the Installation or compromises good order and/or discipline on the
               Installation.

34.     NOTICES: Unless otherwise provided, any notice period provided for in this Lease
shall begin to run on the date such notice is received. If properly sent to the recipient's last
known address by prepaid mail, notice shall be construed as delivered as of the postmark date of
sender's mail receipt form, in the case of certified or registered mail. Notices to Landlord shall
be sent to
                              Lackland Farnilv Housing, LLC
                              2254 Brian McElroy Drive
                              San Antonio. TX 78236


35.    SEVERABILITY: If any provision or clause of this Lease is held invalid by a court of
law, such invalidity shall not affect other provisions of this Lease that can be given effect
without the invalid provision and to this end, the provisions of this Lease are declared to be
severable.
36.    CONFIDENTIALITY OF RESIDENT RECORDS:                            Landlord or Landlord's
managing agent shall not release financial information about a Resident or a prospective
Resident to a third party, other than Resident's rent payment record and the amount of Resident's
periodic rental payment, without the prior written consent of Resident or a prospective Resident,
or upon service on Landlord of a subpoena or other court order for the production of records.
This Section shall not preclude Landlord from releasing information pertaining to a Resident or a
prospective Resident in the event of an emergency.
37.    MODIFICATIONS: No modifications to the terms and conditions of this Lease shall be
enforceable unless executed in writing, signed and dated by Landlord and Resident, or
Resident's representative, as applicable.
38.    CONFLICTS: The terms of this Lease shall take precedence over any conflicting terms
between this Lease and the Resident Guide.
39.     RESIDENT GUIDE: Resident acknowledges receipt of a copy of the Resident Guide
and agrees to abide by its terms. Any changes to the Resident Guide shall be effective only after
thirty (30) days' written notice is given of such changes. The Resident Guide, together with any
addenda attached hereto as Exhibits, or which may hereafter be attached as Exhibits, are hereby
incorporated herein and made a part of this Lease.


RESIDENT ACKNOWLEDGES RECEIPT OF THE FOLLOWING ITEMS AND
UNDERSTANDS THAT THEY ARE A BINDING PART OF THIS LEASE AGREEMENT:
~ LEAD BASED PAINT ADDENDUM (Exhibit "A")
fil,0/t)RESIDENT GUIDE (Exhibit "B")
~ PET ADDENDUM (Exhibit "C")
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~JsATELLITE DISH ADDENDUM (Exhibit "D") (if applicable)
~MOLD ADDENDUM (Exhibit "E")
~URGE PROTECTOR ADDENDUM (Exhibit "F")
~).UTHORIZATION TO ENTER (Exhibit "G")
~       pARAGE ADDENDUM ("Exhibit H")
~        foCKNOWLEDGMENT OF SWIMMING POOL AREA RULES (Exhibit "I")
~)ROPERTY CONDITION REPORT (Exhibit "J")
~).cKNOWLEDGMENT OF OUT-OF-POCKET EXPENSES (Exhibit "K")
~          ONSENT TO RELOCATE (Exhibit "L")
~ACKGROUND CHECKS (Exhibit "M")




            IN WITNESS WHEREOF, the parties have signed this Lease, each of which shall
    constitute an original.



                                                             DATE: \ \       l ,B1 r1

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                                                  Exhibit "8"(1)
                                         Receipt of Resident Guide

I have received the Balfour Beatty Communities' "Resident Guide" which contains the rules and regulations for Lackland
Family Housing.
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         Resident Name (plea~e pr' t)
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            2138 BLAKE RD, SAN ANTONIO, TX 78236


         Address




                                                                          Date




                                                                                                              BBC 000648
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                                            Pet Addendum

This will serve as an Addendum to the Lease dated 11/18/2019, between [Insert Owner] (Owner) and
GILBERT NORTHUP (Resident/Tenant) regarding the Premises located at 2138 BLAKE RD .

This Pet Addendum does not apply to animals that provide assistance to persons with disabilities
("Assistance Animals"). The Owner and/or its property manager provides request forms for Assistance
Animals, and an individual who would like to request an accommodation for the use of an Assistance Animal
should contact the Community Management Office.


     Pet Description           Pei#1                                 Pet#i
     1. Pet Name:
     2. Type of Pet:
     3. Breed:
     4. Color:
     5. Current Age:
     6. Mature Size:
     7. Sex;                   M/F                                    M/F

PET RESTRICTIONS: Only two pets are allowed. Fish tanks and bird cages count as one pet. No more
than one fish tank is permitted in the Premises. No more than two bird cages are permitted in the Premises.

Exotic pets are not permitted - only dogs, cats, birds, or fish.

The following breeds are considered aggressive and are not permitted: Akita, American Bull Dog, Chow,
Doberman, Pit Bulls (American Staffordshire Bull Terriers or English Staffordshire Bull Terriers), Presa
Canario (Canary Mastiff), Rottweiler, and wolf-hybrids.

No "visiting" pets are permitted without prior Community Management Office approval.

Management must approve all pets and all required documents are to be on file prior to housing any pet
(refer to Resident Guide).

If additional pet(s) are acquired after move-in, Resident must alert Community Management Office and
complete an updated Pet Addendum. All pets must be kept current with vaccinations, testing, and/or
treatments. All dogs and cats must wear current rabies vaccination tags on their collar or harness.

The term "pet owner" will include any person owning, keeping, or harboring an animal. The Resident that
has signed the lease and this addendum shall be deemed the pet owner of any pet owned, kept, or harbored
within the Premises.

Pet owners are responsible for compliance with any Community Management Office pet rules, which may
be updated by Owner in its sole discretion from time to time, and for any damage caused by their pets.
Pet owners are responsible for removing their pet's waste throughout all areas within the housing
community grounds. Abandonment of pets is specifically prohibited. Pet owners who no longer desire to
keep a pet or who are moving out will not abandon any animal. Unwanted pets should be made available
for adoption.

The privilege of keeping a pet in the Premises may be revoked and/or a Letter of Caution issued if the pet
is determined to be a nuisance. A nuisance is defined as any action of a pet that endangers life or health,
gives offense to the senses, violates laws of decency, or obstructs reasonable or comfortable use of
property. For example, an animal may be deemed a nuisance if it:
1.   Habitually or repeatedly barks in such a manner or to such an extent that it disturbs others.
2.   Interferes or obstructs persons engaging in exercise or physical activity.




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3.   Defecates in areas not authorized by Owner (which includes for single family housing, the lawns of
     residents in other homes).
4.   Habitually violates the leash law.

Pet owners have full responsibility and liability for the conduct of their pets. This includes full restitution for
any damages to yards, homes, etc., or hospital bills/veterinary bills incurred as a result of injuries inflicted.

Pet owners are encouraged to acquire and maintain liability insurance in the event that their pet bites,
causes physical injury or otherwise harms another person or their property (including other pets). Pet
owners will be held responsible for personal injury or property claims from third parties.

Pets will not be permitted to run loose in the community. A Letter of Caution may be issued or the privilege
of having a pet may be revoked if a Resident or guest routinely violates the leash law. When pets are not
penned, they will be leashed at all times and under Resident's control. Dogs will not be chained outdoors
and left unattended at any time. Pets may be left in fenced-in-yards for short periods of time with proper
food, water, and shelter.

Pets may not be unattended unless confined indoors, or outdoors in a securely enclosed and locked pen,
or other approved structure designed to completely restrain the animal. The Community Manager, or a
representative of the Community Manager, will determine if the structure used to restrain the animal is
sufficient. Anytime a pet is outside the above confined secured areas, it must, at all times, be securely
leashed and under the control of Resident or Occupant or a representative.

For single family housing, doghouses are allowed on home grounds with fenced in yards with authorization
from the Community Manager; and provided that a Request for Alteration Form must be submitted to, and
approved by, the Community Management Office first. Doghouses shall conform to the size of the dog,
standards of good taste, and shall not detract from the appearance of the Premises. It must be painted
white, the color of the Premises or another color as specified in the Resident Guide and kept in the rear of
the Premises at all times. Upon move-out, Residents are required to remove the doghouse and return the
area to original condition with grass seeding at Resident's expense. No spikes are permitted in the ground
to tether pets.

Breeding or raising animals in housing is prohibited.

Farm, exotic and wild animals are not allowed in the community. These animals include all animals normally
used as work animals and those kept for the production of food, or opossums, raccoons, and any other
species of animal not usually considered to be domestic.

In cases of bites or scratches to an animal, transport the injured animal to the nearest Veterinary Facility
for examination. The Community Manager must also be notified.

A Letter of Caution may be issued or the privilege of having a pet in the community may be revoked as a
result of a pet biting a person or another animal.

Complaints concerning stray or unattended pets and general upkeep of housing areas around pets should
be directed to the Community Management Office.

Pets are prohibited from any playground areas in the community.

For Residents living in military housing on an Installation/Base, Resident must comply with any
Installation/Base rules and regulations regarding pets.
Resident understands and agrees that this addendum is incorporated in and made a part of the Lease,
renews and expires under the same terms and conditions as the Lease.




                                                                                Date:   /Vf2<// ~

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Resident: - - - - - - - . - - ~_ _ _ _ _ _ _ _ _ Date: _ _ __




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                                                                               Exhibit "D"
                                                                  Lackland Family Housing, LLC
                                                                     Satellite Dish Addendum

Under rules of the Federal Communications Commission (FCC), Resident has a limited right to install a satellite dish at the Premises
and Landlord has the right to impose reasonable restrictions relating to such installation. Resident is required to comply with these
restrictions as a condition of installing such equipment as specified in this addendum.

 Number and size: Resident may install only one satellite dish or antenna           Workmanship: For safety purposes, Resident must obtain Landlords written
 within the leased premises. A satellite dish may not exceed 39 inches in           approval of (1) the strength and type of materials to be used for installation, and
 diameter. An antenna or dish may receive but not transmit signals.                 (2) the person or company who will perform the installation. Installation must be
                                                                                    done by a qualified person or company that has worker's compensation insurance
 Location: Location of the satellite dish or antenna is limited to (1) inside the   and adequate public liability insurance.       Landlord approval will not be
 Premises, or (2) in an area outside the Premises such as a balcony, patio,         unreasonably withheld . Resident must obtain any permits required by the city for
 yard, etc. which is part of the Premises. Installation is not permitted on any     the installation and comply with any applicable city ordinances or LAFB
 parking area, roof, exterior wall, window, windowsill, fence or common area,       regulations.
 or in an area that other Owner are allowed to use. A satellite dish or
 antenna may not protrude beyond the vertical and horizontal space of the           Maintenance: Resident will have the sole responsibility for maintaining the
 Premises.                                                                          satellite dish or antenna and all related equipment. Landlord may temporarily
                                                                                    remove the satellite dish or antenna if necessary to make repairs to the building.
 Safety and non-interference: Installation: (1) must comply with reasonable
 safety standards; (2) may not interfere with the communities' cable,               Removal and damages: Resident must remove the satellite dish or antenna and
 telephone or electrical systems or those of neighboring properties; (3) may        all related equipment when Resident moves out of the dwelling. Resident must
 not be connected to telecommunications systems; and (4) may not be                 pay for any damages and for the actual cost of repairs or repainting which may be
 connected to electrical system except by plugging into a 110-volt duplex           reasonably necessary to restore the Premises to its condition prior to the
 receptacle. If the satellite dish or antenna is placed in a permitted outside      installation of the satellite dish or antenna and related equipment.
 area, it must be safely secured by one of three methods: (1) securely
 attaching it to a portable, heavy object such as a small slab of concrete; (2)     Liability insurance and indemnity: Resident is fully responsible for the satellite
 clamping it to a part of the building's exterior that lies within the Premises     dish or antenna and related equipment. Prior to installation, Resident must
 (such as a balcony or patio railing); or (3) any other method approved by          provide Landlord with evidence of liability insurance to protect us against claims
 Landlord in writing. No other methods are allowed. Landlord may require            of personal injury and property damage to others, related to the satellite dish,
 reasonable screening of the satellite dish or antenna by plants, etc., so long     antenna or related equipment. The insurance coverage must be no less than
 as it does not impair reception.                                                   $           {which is an amount reasonably determined by us to accomplish that
                                                                                    purpose) and must remain in force while the satellite dish or antenna remains
 Signal transmission from exterior dish or antenna to interior of Premises:         installed. Resident agrees to defend, indemnify and hold Landlord harmless from
 Resident may not damage or alter the Premises and may not drill holes              the above claims by others.
 through outside walls, door jams, windowsills, etc. If the satellite dish or
 antenna is installed outside the living area (on a balcony, patio, or yard of      Deposit increase: For non-active duty military residents, a security deposit
 which is part of the Premises), signals received by the satellite dish or          increase (in connection with having a satellite dish or antenna) may be required.
 antenna may be transmitted to the interior of the Premises only by: (1)            If that is the case, the security deposit is increased by an additional sum of$__
 running a "flat" cable under a door jam or window sill in a manner that does       to help protect Landlord against possible repair costs, damages, or any failure to
 not physically alter the Premises and does not interfere with proper               remove the satellite dish or antenna and related equipment at time of move-out.
 operation of the door or window; (2) running a traditional or flat cable           A security deposit increase does not imply a right to drill into or alter the
 through a pre-existing hole in the wall (that will not need to be enlarged to      Premises.
 accommodate the cable); (3) connecting cables "through a window pane"
 similar to how an external car antenna for a cellular phone can be connected       When Resident may begin installation: Resident may start installation of the
 to inside wiring by a device glued to either side of the window - without          satellite dish or antenna only after Resident has: {1) signed these Rules and
 drilling a hole through the window; (4) wireless transmission of the signal to     Regulations; (2) provided Landlord with written evidence of the liability insurance
 a device inside the Premises; or (5) any other method approved by Landlord         referred; (3) paid Landlord the additional security deposit, if applicable,; and (4)
 in writing.                                                                        received Landlords written approval of the installation materials and the person
                                                                                    or company who will do the installation.

Signed and Accepted by:

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Print Name:                                                     1l.; .;1" i-+l,\~i\,l'\ -N't>~ (PDA-)
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Signature:


Date:                                18 NOV2019




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                                             Exhibit "E"
                                     Lackland Family Housing, LLC
                                           Mold Addendum


Resident Acknowledges that it is necessary for Resident to provide appropriate climate control, keep the
Premises clean, and take other measures to retard and prevent mold and mildew from accumulating in the
Premises.

Resident agrees to clean and dust the Premises on a regular basis and to remove visible moisture
accumulation on windows, walls and other surfaces as soon as reasonably possible. Resident agrees not to
block or cover any of the ventilation or air-conditioning ducts in the Premises. Resident also agrees to
promptly, upon actual knowledge of the condition, report to the Community Management Office: (1) any
evidence of a water leak or excessive moisture in the Premises, as well as any storage room, garage, or other
common area; (2) any evidence of mold-or-mildew like growth that cannot be removed by simply applying a
common household cleaner and wiping the area; (3) any failure or malfunction in the ventilation or air-
conditioning system in the Premises; and, (4) any inoperable windows or doors.

Landlord's duty to repair the Premises shall be in accordance with the terms of the Lease and Resident may be
liable for damage and personal injury to Resident and Occupants resulting from Resident's failure to comply
with these terms.

Resident acknowledges receipt of the information sheet, "Tips for Preventing Mold and Mildew," attached to
the Resident Guide.



Resident Signature:                                                              18 NOV 2019



Landlord Representative:                                                Date:   18 NOV 2019




                                                                                                     BBC 000653
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                                                                           Exhibit "F"
                                                           Surge Protector Addendum


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The power provided to housing has a tendency to fluctuate. This can cause damage to electronic components.
Residents are advised to use surge protectors to protect electronic equipment (stereos, TV's, typewriters,
computers, etc.) from damage caused by voltage fluctuations. It is the resident's responsibility to purchase
surge protectors. The Owner and Property Manager are not responsible for damage to appliances or
equipment due to high or low voltage of power fluctuations.




                                                                                                  18 NOV 2019
                                                                                                   Date



Resident Signature                                                                                 Date



                                                                                                      18 NOV 2019
                                                                                                   Date




                                                                                                                                          BBC 000654
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                                                                        Exhibit "G"
                                                                   Authorization to Enter

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Resident: --.=c=='-"'--=-=-=.;;.;;.;;..;;....;;..;:~-
               GILBERT NORTHUP

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I DO hereby authorize Landlord's personnel and their agents to enter my home for maintenance service
requests and routine inspections provided prior notification was provided to me in accordance with the terms
of the Lease. I further agree that prior to a scheduled maintenance service request any pet in my home will be
confined to an area that does not require maintenance services.

Also, I agree that at any time an emergency situation, in the sole discretion of the Landlord, occurs, staff may
enter my home to respond accordingly and make necessary repairs.



Resident Signature

Resident Signature

Landlord Representative Signature

        **********************************************************************************

I DO NOT hereby authorize Landlord's personnel nor its agents to enter my home for maintenance service
requests and routine inspections even if prior notification was provided to me.
However, I agree that Landlord and its personnel has the immediate right of entry to my home if, as
determined by the Landlord, an emergency condition exists.

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Resident Signatur




Landlord Representative · ignature




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                                              Exhibit "H"
                                          GARAGE ADDENDUM


Residents Insurance & Indemnity Obligations for Use of Garage

The garage shall be used for the purpose of parking the Resident's automobile or motorcycle and for no other
purpose.

Any personal property stored within the garage shall be done at Resident's sole risk, and therefore, it is
recommended that Resident obtain additional renter's insurance at Resident's expense.

Resident hereby agrees to indemnify and hold harmless owner/Landlord/management company from and
against any and all attorney's fees incurred by Owner/Landlord/Management Company arising from Residents
improper use of the garage, or from any illegal activity, work or thing done, permitted or suffered by Resident
in, on or about the garage.

Resident acknowledges that the monthly rental amount for the Premises includes Resident's the use of a
garage.

Resident agrees to pay for any damage to the garage caused by the Resident, Occupant s or guest of the
Resident's negligence that results in the need for any repair or replacement of garage-related items.




                                                                      18 NOV 2019




Residents Signature                                Date

                                                                      18 NOV 2019
                                                   Date




                                                                                                       BBC 000656
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                                                                              Exhibit "I"
                                                             ACKNOWLEDMENT BY RESIDENT
                                                 OF SWIMMING POOL AREA RULES AND POLICIES

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 Residents: GILBERT NORTHUP
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 SWIMMING POOL POLICIES: NO LIFEGUARD OR OTHER SAFETY PERSONNEL WILL BE ON DUTY AT THE
 SWIMMING POOL AREA AT ANY TIME.
 The Owner of the community and its authorized property manager do not and cannot assure, guarantee or warrant your
 safety. (For purposes of this swimming pool area policy, "owner" means the property owner, and owner's property
 management company, on site managers and other owner representatives.)

 Furthermore,

 1. We recommend residents not permit any minor child or adult who is not sufficiently trained in swimming to utilize or
 participate in the use of the swimming pool and wading pool without being accompanied by a responsible supervising
 adult.

 2. Resident agrees that an adult must accompany persons under twelve (12) years of age.
 3. Resident agrees to obey all rules and regulations pertaining to the use of the pool area, and that Resident will instruct
 Resident's children, Occupants, guests and invitees to follow and obey such rules.


 RESIDENT ACKNOWLEDGEMENT: I HAVE READ, UNDERSTOOD AND AGREE TO COMPLY WITH THE SWIMMING POOL
 AREA POLICIES OUTLINED ABOVE. I AGREE TO ASSUME FULL AND COMPLETE RESPONSIBILITY FOR ALL RISKS AND
 HAZARDS ATTRIBUTABLE TO, CONNECTED WITH, OR IN ANY WAY RELATED TO THE USE, OR PARTICIPATING IN THE USE
 OF THE SWIMMING POOL AREA. I HAVE RECEIVED NO RESPRESENTATIONS OR WARRANTIES, EITHER EXPRESS OR
 IMPLIED, REGARDING THE SWIMMING POOL AREA. OWNER HAS NOT STATED OR IMPLIED TO ME IN ANY WAY THAT
 SAFETY OF PERSON OR PROPERTY WILL BE PROVIDE, PROMISED OR GUARANTEED.


 I AGREE TO RELEASE AND HOLD HARMLESS OWNER (AS DEFINED ABOVE) FROM ANY PERSONAL INJURY OR PROPERTY
 DAMAGE SUSTAINED BY ME, OCCUPANTS, MY SPOUSE, CHILDREN OR GUESTS AS A RESULT OF OUR USE OR
 PARTICIPATION IN THE USE OF THE POOL AREA.


 I ACKNOWLEDGE THAT OWNER'S REPRESENATIVES HAVE NO AUTHORITY TO MAKE CHANGES OR MODIFICATIONS IN
 THIS DOCUMENT OR TO MAKE PROMISES REGARDING THE SWIMMING POOL AREA UNLESS THEY ARE IN WRITING AND
 SIGNED.                                          ~

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 Resident         f    f                           2fEDate                                               Resident                      Date



                                                                                                        18 NOV 2019
                                                                                                        Date




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                                             Exhibit "J"
                                     Lackland Family Housing
                                    Resident Background Checks

The Resident agrees that the Landlord or Installation Security Office has the authority to conduct background
checks with respect to privatized housing Tenants, Occupants, and applicants the age of 18 and above, prior to
signing a tenant lease.

Applicants who must submit to a NCIC background check shall present themselves to the Installation Visitor's
Center for an NCIC background check. Applicants who must submit to a NACI background check will be
escorted by an authorized escort to the designated Installation office for fingerprinting.

Active military members will not be required to submit to a background check.

Other Eligible Tenant applicants, excluding the "General Public", and all Occupants the age of 18 and older will
be required to submit to a NCIC background annually.

"General Public" applicants who:

       a)   Reside "outside the gate" and not on the Installation will be required to submit to a NCIC
            background check annually.
       b)   Reside "behind the gate" and on the Installation will be required to submit to a NCIC background
            check annually and a NACI background check not more frequently than once every four (4) years
            (or equivalent national security clearance, consistent with the requirements of Homeland Security
            Presidential Directive-12 {HSPD-12) and DoD 5200.08-R, Physical Security Program, 9 Apr 2007,
            Para C.3.3), or successor statutes or directives regarding Installation access.

HPC will honor the recommendations of the Installation Security Office on whether to grant housing based on
the result of the NCIC or NACI check."

I have read and understood this Addendum.

AGREED AND ACCEPTED this --=1=8-=-TH=-=--- day of      NOV 2019


_ _ _ _ N/A__ __________
Landlord Representative Signature

_ _ _ _ N/A_ _ _ _ _ _ _ _ __
Resident Signature




                                                                                                        BBC 000658
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                                              Exhibit "K"
                                       Lackland Family Housing
                       Weapons Addendum to Resident Responsibility Agreement

The undersigned agree that this addendum is incorporated in and made a part of the Resident Responsibility
Agreement between Lackland Family Housing, LLC (Landlord) and GILBERT NORTHUP (Lessee), for the
residence of            2138 BLAKE RD, SAN ANTONIO, TX 78236                , dated        18 NOV 2019 and
shall renew and expire under the same terms and conditions of the Resident Responsibility Agreement.



Weapons Policy
In accordance with AFI 31-101 LAFB Sup 1 24, Residents and family members residing in the home may
possess and store privately owned weapons, which include firearms, crossbows, BB and pellet guns. It is also
understood and required that all weapons are declared with the Security Forces Squadron and the Community
Management Office.

Compliance with Air force Instructions and Guidelines to include Texas State laws regarding firearms must be
strictly adhered to without exception.

All weapons must be listed below:
         Resident Name                     Weapon                 Make/Type             Serial Number
                                                              .




       I DECLARE NO WEAPONS AT THIS TIME. I UNDERSTAND I MUST NOTIFY
       THE COMMUNITY MANAGEMENT OFFICE IMMEDIATELY IF I ACQUIRE ANY WEAPON AND Will FOLLOW All PROCEDURES.



I HAVE READ AND FULLY UNDERSTAND THE ABOVE DETAILED POLICIES AND PROCEDURES, INCLUDING AFI 31-101 LAFB Sup 124
AND TEXAS STATE LAW.


Resident Signature:




                                                                                                        BBC 000659
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                                                     Exhibit "A"
                         DISCLOSURE OF INFORMATION ON LEAD-BASED PAINT

This will serve as Exhibit "A" to the Lease dated _18 NOV 2019 between Lackland Family Housing, LLC (Owner) and
  GILBERT NORTHUP (Resident) regarding the Premises located 2138 BLAKE RD, SAN ANTONIO, TX 78236

Lead Warning Statement
Housing built before 1978 may contain lead-based paint. Lead from paint, paint chips, and dust can pose health hazards
if not managed properly. Lead exposure is especially harmful to young children and pregnant women. Before renting
pre-1978 housing, Owners must disclose the presence of known lead-based paint and/or lead-based paint hazards in the
dwelling. Residents must also receive a federally approved pamphlet on lead poisoning prevention.

Owner's Disclosure
(a) Presence of lead-based paint and/or lead-based paint hazards (Check (i) or (ii) below):
     (i)_ Known lead-based paint and/or lead-based paint hazards are present in the housing (explain). _ _


     (ii) X   Owner has no knowledge of lead-based paint and/or lead-based paint hazards in the housing.
(b) Records and reports available to the Owner (Check (i) or (ii) below):
    (i)__ Owner has provided the Resident with all available records and reports pertaining to lead-based paint
             and/or lead-based paint hazards in the housing (list documents below).




     (ii)X Owner has no reports or records pertaining to lead-based paint and/or lead-based paint hazards in the
            housing.

Resident's Acknowledgment (initial)
(c)__ Resident has received copies of all information listed above.
(d)__ Resident has received the pamphlet Protect Your Family from lead in Your Home.

Agent's Acknowledgment (initial)
(e)__ Agent has informed the Owner of the Owner's obligations under 42 U.S.C. 4852d and is aware of his/her
       responsibility to ensure compliance.

Certification of Accuracy
The following parties have reviewed the information above and certify, to the best of their knowledge, that the
information they have provided is true and accurate.



Name:  [},wt/~ru,-1(4
Resident:
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Date: 18 NOV 20 9 _ _ _ _ _                              Date:




                                                                                                                  BBC 000660
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                                            Exhibit "L" (1)
                                     Lackland Family Housing, LLC
                                (For use with Active Duty Military Lease, only)


                        Acknowledgement of Out-of-Pocket Expense


Resident acknowledges that at the time of Lease execution, Resident was advised that the Premises is a home
designed for occupancy by an individual who receives a greater BAH. This is often referred to as "renting up".

Resident further acknowledges that at the time of Lease execution, Resident was advised that renting the
home would result in Resident paying out-of-pocket expenses that exceeded Resident's monthly BAH.

If Resident chooses to re-locate to another home for the purpose of renting a home that is targeted for his
rank, the move will be considered voluntary by the Resident and will be made at Resident's expense.

Please acknowledge receipt of this Addendum by signing below. If you have any questions or concerns, please
consult with the Landlord prior to signing.

I have read and understand the contents of this Addendum .



AGREED AND ACCEPTED this        18TH       day of_ _N_O_V_2_0_19
                                                               ___



______ N/A_________                                ______ N/A_________
Landlord Representative Signature                  Resident Signature




                                                                                                      BBC 000661
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                                                Exhibit "M"
                                      Lackland Family Housing, LLC
                                        CONSENT TO RELOCATE


Resident acknowledges that at the time of Lease execution Resident was advised that the Premises is a unit
designed for occupancy by individuals with disabilities, often referred to as an "ADA Unit".

Resident further acknowledges that at the time of Lease execution Resident was advised that if an individual
with physical or mental impairments needs to occupy the ADA unit, Resident will be required to re-locate to
another unit at Landlord's expense.

This addendum does not include Key and Essential personnel and designated quarters.

Resident consents to re-locate to another unit at Landlord's request, and at Landlord's expense.

Please acknowledge receipt of this Addendum by signing below. If you have any questions or concerns, please
consult with the Landlord prior to signing.

I have read and understood this Addendum.

AGREED AND ACCEPTED this      18TH
                             ------- day of
                                           ---- ---------
                                             NOV 2019


              N/A_ _ _ _ _ _ __
Landlord Representative Signature




_ _ _ _ _N/A_ _ _ _ _ _ _ _ __
Resident Signature




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                                              Exhibit "M"(l)
                     Consent to Relocate for Key & Essential Personnel
You are being assigned a designated Key & Essential home with communications accessibility and may be
directed to relocate to another home on-base (if available) or to relocate off-base in the event you are no
longer assigned to this billet that requires your residency in a Key & Essential home. The move would be paid
at government expense. All Key & Essential personnel are required to reside in designated housing unless
authorized a waiver by the Installation Commander.

During the Key & Essential personnel rotations, it is imperative that the inbound Key & Essential personnel
transition into these specified homes at the time of their arrival to ensure mission requirements are not
adversely impacted. As a result, it is a requirement to ensure timely occupancy of designated quarters for
inbound Key & Essential personnel assigned to JBSA-Lackland. All outbound Key & Essential personnel will be
required to vacate K&E quarters no later than two (2) weeks prior to the Change of Command of the inbound
Key & Essential personnel. Further, all K&E quarters will be required to have a pre move-out inspection
conducted during the last month of occupancy. A final move-out inspection will be conducted on the day of
move-out.

Please direct any additional questions to Alison Birney, Community Manager 210-674-9366 or via email at



Alison Birney
BALFOUR BEATTY COMMUNITIES
Community Manager

Resident acknowledges that at the time of Lease execution, resident was advised that 2138 BLAKE RD_is NOT
home designated for occupancy by Key and Essential personnel with communications requirements. Resident
further acknowledges that at the time of Lease execution, resident was advised that IF a Key & Essential
applicant meeting the criteria to occupy said home is inbound, the resident will be required to re-locate at
government expense.

By signing below, resident acknowledges receipt of this Memorandum, has read and agrees to its terms.

_ _ _ _ _ N/A___________                            _ _ _ _ _ N/A___________
PRINTED NAME                                         SIGNATURE

_ _ _ _ _ N/A___________
Date signed




                                                                                                     BBC 000663
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                                                                            Exhibit "L"
                                                                     Lackland Family Housing
                                                                    CRIME FREE LEASE ADDENDUM
As part of the consideration for lease of the dwelling unit identified in the lease, Resident agrees as follows:
    1. Resident and Resident's Occupants whether on or off of the property; and Resident's and Resident's
        Occupant's guests and invitees, are prohibited from:
             a. Engaging in any criminal activity, including drug-related criminal activity, on or off the said premises.
                 Drug relates criminal activity shall mean the illegal manufacture, sale, distribution, use, possession
                 and possession with intent to manufacture, sell, distribute, or use an illegal or controlled substance
                 (also as defined in Section 102 of the Controlled Substance Act [21 U.S.C. 802).
             b. Engaging in any act intended to facilitate criminal activity or permitting the swelling unit to be used
                 for criminal activity.
             c. Engaging in the unlawful manufacturing, selling, storing, keeping or giving of an illegal or controlled
                 substance as defined in A.R.S. 13-3451, at any locations, whether on or near the dwelling unit
                 premises.
             d. Engaging in any illegal activity, including, but not limited to prostitution as defined in A.R.S. 13-3211,
                 criminal street gang activity as defined in A.R.S. 13-105 and A.R.S. 13-2308, threatening or
                 intimidating as prohibited in A.R.S. 13-1202, assault as prohibited in A.R.S. 13-1203, including but not
                 limited to the unlawful discharge of a weapon, on or near the dwelling unit premises, or any breach of
                 the lease agreement that otherwise jeopardizes the health, safety and welfare of the landlord, his
                 agent, or other tenant, or involving imminent or actual serious property damage, as defined in A.R.S.
                 33-1368.
    2. VIOLATION OF ANY ABOVE PROVISIONS SHALL BE A MATERIAL AND IRREPARABLE VIOALTION OF THE LEASE
        AND GOOD CAUSE FOR IMMEDIATE TERMINATION OF TENANCY. A single violation of any of the provisions of
        this addendum shall be deemed a serious, material and irreparable non-compliance. It is understood that a
        single violation shall be good cause for immediate termination of the lease under A.R.S. 33-1377, as provided
        in A.R.S. 33-1368. Proof of such a violation shall not require a criminal conviction, but shall only require a
        preponderance of the evidence.
    3. Resident hereby authorizes property management/owner to use police generated reports against Resident for
        any such violation as reliable direct evidence, and/or as business records as a hearsay exemption, in all
        eviction hearings.
    4. In case of conflict between the provisions of this addendum and any provisions of the lease, the provisions of
        this addendum shall govern.
    5. Resident also agrees to be responsible for the actions of Resident's occupants, Resident's guests and invitees,
        and Resident's occupant's guests and invitees, regardless of whether Resident knew or should have known
        about any such actions. A guest or invitee shall be anyone who Resident or Resident's occupant gives access
        to or allows on the premises or in the rental unit.
    6. This Lease Addendum is incorporated into the lease or renewal thereof, executed or renewed at any time
        between Landlord/Manager and esident/Lessee.
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